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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     JOSEFINA MENDOZA, as the                           Case No. 20-cv-00656-BLF
                                         Representative of the Estate of B.M.,
                                   9
                                                        Plaintiff,                          ORDER TERMINATING WITHOUT
                                  10                                                        PREJUDICE PLAINTIFF’S MOTION
                                                 v.                                         FOR LEAVE TO AMEND THE
                                  11                                                        COMPLAINT
                                         WYNDHAM HOTELS & RESORTS, INC.
                                  12     and CHOICE HOTELS                                  [Re: ECF 128]
Northern District of California
 United States District Court




                                         INTERNATIONAL, INC.,
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                                                        Defendants.
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                                  17          Plaintiff’s motion for leave to amend the complaint is TERMINATED WITHOUT

                                  18   PREJUDICE on the ground that this case has been stayed. The stay was entered pursuant to the

                                  19   Trafficking Victims Protection Reauthorization Act (“TVPRA”) until the “final adjudication in the

                                  20   trial court” of the “criminal action arising out of the same occurrence in which the claimant is the

                                  21   victim.” Order Staying Case (quoting 18 U.S.C. § 1595(b)), ECF 99. The “final adjudication in

                                  22   the trial court” will not occur until sentencing and entry of judgment as to the remaining

                                  23   defendants in the criminal trafficking case. See Doe v. Mindgeek USA Inc., No. SACV 21-00338-

                                  24   CJC (ADSx), 2021 WL 6618628, at *2 (C.D. Cal. Dec. 28, 2021) (declining to consider motion to

                                  25   amend complaint while TVPRA stay was in effect); Lunkes v. Yannai, 882 F. Supp. 2d 545, 549

                                  26   (S.D.N.Y. 2012) (“[I]nterpreting ‘final adjudication’ to refer to sentencing and entry of judgment

                                  27   is consistent with the purpose and legislative history of Section 1595.”). Those defendants are

                                  28   scheduled to be sentenced on September 26, 2023.
                                          Case 5:20-cv-00656-BLF Document 130 Filed 07/07/23 Page 2 of 2




                                   1          Upon sentencing and entry of judgment with respect to the remaining criminal defendants,

                                   2   Plaintiff may file a motion to lift the stay and, once such motion is granted, may re-notice the

                                   3   motion for leave to amend the complaint.

                                   4          IT IS SO ORDERED.

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                                   6   Dated: July 7, 2023

                                   7                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                   8                                                    United States District Judge
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Northern District of California
 United States District Court




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